 _____________________________________________________________/
Case 1:15-cv-07000-JBS-KMW Document 43 Filed 03/27/17 Page 1 of 1 PageID: 141




                                           UNITED STATES DISTRICT COURT
                                              DISTRICT OF NEW JERSEY
                                                 CAMDEN VICINAGE

 THE INDEPENDENCE PROJECT, INC.,
 A New Jersey Non-Profit Corporation

              Plaintiff,

 vs.                                                                        Case No. 1: 1 5-cv-07000-JBS-KMW

 TDBANK,N.A.,

              Defendant.


                                    ORDER OF DISMISSAL WITH PREJUDICE

            THIS MATTER is before the Court upon the Stipulation for Dismissal With Prejudice.

 The Court having carefully reviewed said Stipulation and after due consideration, it is

              ORDERED AND ADJUDGED as follows:

              1.       The Stipulation For Dismissal With Prejudice filed herein by the Plaintiff, and the

 Defendant, be and the same is hereby approved;

              2.       The above case is hereby DISMISSED with prejudice;

              3.       The Court retains jurisdiction of the matter solely for the purpose of enforcing the

 Settlement Agreement; and

            4.         To the extent not otherwise disposed of herein, all pending Motions are hereby

 DENIED as moot.

            DONE AND ORDERED this                        2] ay of M—-             ,   2017.


                                                                  4NITED STATES DISTRICT JUDGE
 Copies furnished to:
 Attorneys of record



 286137 lvi
